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                                              October 19, 2023

 VIA ECF
 The Honorable Jesse M. Furman
 United States District Judge
 United States District Court for the
 Southern District of New York
 40 Centre Street
 New York, New York 10007

        Re:      UMB Bank, N.A. v. Bristol-Myers Squibb Co., No. 21-cv-4897-JMF

 Dear Judge Furman:

        Counsel for the parties in the above-referenced action respectfully submit this joint letter
 providing a status update as to case management issues in accordance with the Civil Case
 Management Plan and Scheduling Order (ECF No. 39).

              1. Deadlines

         Pursuant to the Court’s Order Granting Extension of Time to Complete Discovery (ECF
 No. 47), the deadline for the parties to complete fact discovery is February 26, 2024. The deadline
 for the parties to complete expert discovery is October 26, 2024.

              2. Outstanding Motions

        There are no outstanding motions.

              3. Discovery

        In an Order entered on August 6, 2021, the Court granted the motion of Bristol-Myers
 Squibb Company (“BMS”) to stay discovery until after a ruling on its motion to dismiss. (ECF
 No. 23). The Court entered a memorandum opinion and order denying the motion to dismiss on
 June 24, 2022. (ECF No. 33). Since then, the parties have each served interrogatories and requests
 for production on the other. UMB substantially completed document productions by February 3,
 2023. BMS reached substantial completion, including post-privilege review productions, by
 August 8, 2023, which brought its total production to more than 20 million pages.
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       The parties have also each served non-party subpoenas on multiple parties and document
productions from non-parties are ongoing. An issue relating to non-party depositions is addressed
below.

       The parties agreed that UMB will be permitted to take 25 depositions. At this time, BMS
expects to stay within the presumptive limit of ten depositions per party provided under Rule
30(a)(2)(A)(i). BMS has noticed the Rule 30(b)(6) deposition of UMB to be held on October 24,
2023. UMB has provided a list of 25 witnesses whose depositions it intends to notice, most of
whom are former BMS employees. The parties have been working cooperatively to schedule those
depositions and already have agreed upon dates for 10 of those depositions. The parties will
continue to negotiate depositions dates to ensure that fact discovery is completed by February 26,
2024.

        BMS requests clarification from the Court with respect to the provision of the Civil Case
Management Plan and Scheduling Order that provides “non-party depositions shall follow initial
party depositions” unless the parties agree or the Court orders otherwise. Scheduling Order entered
July 26, 2022, § 9(d)(iii) (emphasis added). Counsel for some non-party subpoena recipients have
raised this provision in discussions with BMS about deposition scheduling. BMS understands the
provision to allow non-party depositions to be scheduled during the course of fact discovery, rather
than after the conclusion of all party depositions, as long as the first depositions of party witnesses
have been taken, but it requests clarification from the Court that this reading is correct. UMB takes
no position on BMS’ request for clarification.

           4. Settlement Discussions

        There have been no settlement discussions. As previously reported, the parties discussed
the topic during the initial conference under Rule 26(f) of the Federal Rules of Civil Procedure on
July 26, 2021. There have been no further discussions about the topic. BMS believes that
mediation with a private mediator selected by the parties would be the most appropriate approach
to such discussions at the proper time.

           5. Alternative Dispute Resolution

        The parties do not believe it would be productive to engage in alternative dispute resolution
but remain open to the possibility of private mediation. Both parties would object to mediation
before a United States Magistrate Judge to whom any aspects of the case have been referred for
other rulings.
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           6. Trial

          UMB demanded a jury trial in its Complaint. (ECF No. 1). The parties anticipate that a
trial, if needed, will require two to three weeks.

           7. Summary Judgment

      UMB anticipates filing a summary judgment motion after the close of all discovery. UMB
would object to BMS filing more than one summary judgment motion or to filing any summary
judgment motion before the close of discovery.

       BMS anticipates filing motions for summary judgment based on UMB’s lack of standing
and on the merits. At the conference, BMS would like to discuss the timing for its summary
judgment motion based on standing.

                                    Respectfully submitted,


       /s/       David Elsberg                    /s/      John J. Clarke Jr.
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